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                       UNITED STATES DEPARTMENT OF EDUCATION
                                     OFFICE FOR CIVIL RIGHTS

                                                   February 21, 2025

 Pender Makin, Commissioner
 Maine Department of Education
 23 State House Station
 Augusta, ME                                  UNDER EMBARGO
 04333-0023
 commish.doe@maine.gov
 sent via E-mail

 OCR Case Number 01255902

 Dear Commissioner Makin:

 The United States Department of Education’s (Department) Office for Civil Rights
 (OCR) writes to inform you that it is initiating a directed investigation of the Maine
 Department of Education (MDOE).

 Under President Trump’s February 5, 2025, Executive Order, Keeping Men Out of
 Women’s Sports, “it is the policy of the United States to rescind all funds from
 educational programs that deprive women and girls of fair athletic opportunities,” and
 to take “all appropriate action to affirmatively protect all-female athletic opportunities
 and all-female locker rooms and thereby provide the equal opportunity guaranteed by
 Title IX of the Education Amendments Act of 1972.” This Order is informed by
 President Trump’s January 20, 2025, Executive Order Defending Women from Gender
 Ideology Extremism, and the Department of Health and Human Services’ February 19,
 2025, guidance on defining sex. Accordingly, this directed investigation is in furtherance
 of President Trump’s policy directives and OCR’s mandate to enforce federal civil rights
 laws.

 Pursuant to its regulatory authority, as set forth in 34 C.F.R. § 106.81, OCR will initiate
 an investigation whenever a report, complaint, or other information indicates a possible
 failure to comply with the laws and regulations that OCR enforces.

 OCR enforces Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, and its
 implementing regulation, 34 C.F.R. Part 106, which prohibit discrimination on the basis
 of sex in any education program or activity operated by a recipient of Federal financial
 assistance. Pursuant to its statutory authority, as set forth in 20 U.S.C. § 1682, and if
 necessary to enforce Title IX, OCR will act to terminate Federal financial assistance or
 effect compliance by “any other means authorized by law.”




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 OCR’s directed investigation will examine whether MDOE denies equal athletic benefits
 and opportunities to female student athletes through general or athletics-specific
 participation policy(s) that permit, direct, instruct, or require Maine high schools to
 allow males to participate in girl’s interscholastic athletics, thereby depriving girls and
 young women of equal athletic opportunities. As a corollary to this alleged conduct, a
 potential Title IX violation occurs when a covered entity denies female students female-
 only intimate facilities, such as sex-segregated locker rooms and bathrooms.

 OCR’s initiation of a directed investigation is not itself evidence of a violation of federal
 civil rights laws and regulations. However, MDOE’s posted statement “Update
 Regarding Recent Executive Order” appears to acknowledge that it is knowingly taking
 a position in irresolvable conflict with Federal law and instructing schools throughout
 Maine to do the same.

 This letter also informs MDOE that OCR is opening a parallel directed investigation
 into potential Title IX violations committed by Maine School Administrative District #51
 (MSAD #51), wherein Greely High School, according to credible local reporting, has
 knowingly allowed at least one male student athlete to continue competing in sports
 categories and events designated for girls. Indeed, MSAD #51 posted online a statement
 “From the Superintendent” that the District is “following state law as directed by the
 MDOE” with regard to “Transgender Policies.” Neither MDOE nor the schools in its
 jurisdiction can evade Title IX compliance obligations by deferring to the policies of a
 private association (such as the Maine Principal’s Association, which recently stated its
 intent to continue a “gender identity” policy for athletics that is facially in conflict with
 Title IX requirements not to discriminate against girls on the basis of sex).

 OCR’s Boston regional office will conduct this directed investigation. Given the Maine
 Department of Education’s publicly posted position in opposition to Title IX compliance
 throughout its education programs and activities, girls and young women will be, and
 are being, irreparably harmed on a continuous basis. Thus, OCR will utilize its Rapid
 Resolution Process, as set forth in Section 110 of OCR’s Case Processing Manual. OCR’s
 Boston regional office will contact MDOE forthwith to pursue expedited processing of
 this directed investigation to ensure that, as long as Maine accepts Federal funds, it
 protects the rights of female students. Should you have any questions, please do not
 hesitate to contact David Samberg at David.Samberg@ed.gov.

                                             Sincerely,

                                             /s/

                                             Craig Trainor
                                             Acting Assistant Secretary for Civil Rights
                                             United States Department of Education



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